            Case 1:25-cv-00181    Document 1     Filed 01/08/25     Page 1 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_________________________________________X
VICTORY BOYD and THE SONGS OF
GLORY

               Plaintiff,                               Case No.:

                            -against-
                                                        COMPLAINT
                                                        JURY TRIAL DEMANDED
JACQUES BERMON WEBSTER II p/k/a
TRAVIS SCOTT, CACTUS JACK RECORDS, LLC,
CACTUS JACK PUBLISHING, LLC, EPIC RECORDS,
SONY MUSIC ENTERTAINMENT,
SONY MUSIC PUBLISHING, AUDEMARS PIGUET,
SOLANA ROWE p/k/a SZA, NAVADIUS WILBURN
p/k/a FUTURE, JAHMAL GWIN, JAHAAN SWEET,
NIMA JAHANBIN, EDGAR PANFORD,
“JOHN DOE ENTITIES” 1-10 and
“JOHN DOES” 1-10

            Defendants,
_________________________________________X

Plaintiffs, VICTORY BOYD and THE SONGS OF GLORY, through their attorney, KEITH

WHITE, PLLC., complaining of the defendants, JACQUES BERMON WEBSTER II p/k/a

TRAVIS SCOTT, CACTUS JACK RECORDS, LLC, CACTUS JACK PUBLISHING, LLC,

EPIC RECORDS, SONY MUSIC ENTERTAINMENT, SONY MUSIC PUBLISHING,

AUDEMARS PIGUET, SOLANA ROWE p/k/a SZA, NAVADIUS WILBURN p/k/a FUTURE,

JAHMAL GWIN, JAHAAN SWEET, NIMA JAHANBIN, EDGAR PANFORD, “JOHN DOE

ENTITIES” 1-10 and “JOHN DOES” 1-10, upon information and belief, sets forth and alleges as

follows:

                                 SUMMARY OF CLAIMS

       1.      This is a case of copyright infringement against internationally famous and

       acclaimed artist Jacques Bermon Webster II p/k/a Travis Scott, his record labels,
     Case 1:25-cv-00181       Document 1        Filed 01/08/25      Page 2 of 17




publishers, producers, songwriters and his brand partner Audemars Piguet. The suit seeks

actual damages incurred by Plaintiffs, plus disgorgement of each of the Defendants' profits

including touring, merchandise and any other additional profits received from their hit song

entitled “Telekinesis,” as a result of the copying of Plaintiffs' “Like The Way It Sounds”

with accompanying lyrics or in the alternative, if Plaintiffs elects to seek statutory damages.

The suit also seeks recovery of Plaintiffs' expenses, including reasonable attorney's fees,

due to the willful and intentional nature of the infringement and the other circumstances

alleged herein. Plaintiffs request other ancillary relief in the form of an injunction, a

constructive trust imposed over the wrongfully made profits, and an accounting as to the

profits earned by each of the Defendants from the infringement.

2.      Plaintiff Victory Boyd (“Boyd”) is a singer-songwriter and owner of Plaintiff Songs

of Glory (“Glory”). Boyd is a recording artist signed to RocNation Records, the record

company founded by legendary musician, entrepreneur and philanthropist, Shawn Carter

p/k/a Jay-Z.

3.      Plaintiffs commence this action to: (a) enjoin Defendants from future infringement

of Plaintiffs’ duly copyrighted and original work -a musical composition entitled “Like

The Way It Sounds” (“Original Work”) published in November 2019, b) recover damages

arising from Defendants’ infringement of Plaintiffs’ copyright in the Original Work and

(c) seek other declaratory relief.

4.      The Defendants are all active participants in the writing, production, publishing,

profiting and international broadcasting of a derivative musical composition and

audiovisual work, entitled “TELEKINESIS” which was first published by Defendants on
     Case 1:25-cv-00181       Document 1       Filed 01/08/25      Page 3 of 17




July 25, 2023 (the “Infringing Work”). This Infringing Work is based on, embodies and is

substantially similar to Plaintiffs’ copyrighted Original Work.

5.      Defendant Audemars Piguet is a watch designer and manufacturer that hip-hop

musicians celebrate as a luxury brand. Defendant Audemars Piguet specifically exploited

the Infringing Work in a major advertising campaign after requesting permission from the

Plaintiff and being declined by Plaintiff.

                         __________________________

                         JURISDICTION AND VENUE

6.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§1331, 1338(a)

and 1367(a) as it arises under the Copyright Act of 1976, 17 U.S.C. §101 et seq. (the “Act”)

and pursuant to the principles of supplemental jurisdiction.

7.      Venue is proper in this district pursuant to 28 U.S.C. §§1391(b) and 1400(a) in that

Defendants are subject to personal jurisdiction in the Southern District of New York by

virtue of Defendants’ broadcast of the infringing work to this jurisdiction.

                                         PARTIES

8.      Plaintiff Ms. Victory Boyd (“Boyd”), is a citizen of the United States and a resident

of the State of Texas.

9.      Plaintiff Songs of Glory (“Glory”), is a music publishing company, wholly owned

by Boyd, and operated for the sole purpose of publishing musical compositions written,

produced or acquired by Boyd.

10.     Defendant Jacques Bermon Webster II p/k/a Travis Scott (“Scott”), is a citizen of

the United States and a resident of the State of California, having a contact address of

12255 Sky Lane Los Angeles, California 90049, and is the creator and executive producer
   Case 1:25-cv-00181        Document 1       Filed 01/08/25     Page 4 of 17




of the Infringing Work, and at all relevant times was doing and transacting business within

the State of New York.

11.    Defendant CACTUS JACK RECORDS, LLC (“CACTUS”) is a California limited

liability company with a principal place of business at 9255 W Sunset Blvd Fl 2, West

Hollywood, California 90069-3308. Cactus is the Producer and Distributor of the

Infringing Work, and at all relevant times was doing and transacting business within the

State of New York.

12.    Defendant CACTUS JACK PUBLISHING, LLC (“CACTUS PUBLISHING”) is a

California limited liability company with a principal place of business at 1900 Avenue Of

The Stars 25th Floor, Los Angeles, California 90067-4301. Cactus is the Publisher of the

Infringing Work, and at all relevant times was doing and transacting business within the

State of New York.

13.    Defendant EPIC RECORDS (“EPIC”) is a wholly owned subsidiary of Sony Music

Entertainment with a principal place of business at 25 Madison Avenue New York, NY

10010. EPIC is the Producer and Distributor of the Infringing Work, and at all relevant

times was doing and transacting business within the State of New York.

14.    Defendant SONY MUSIC (“SONY MUSIC”) is a Delaware corporation with a

principal place of business at 25 Madison Avenue New York, NY 10010. SONY MUSIC

is the Producer and Distributor of the Infringing Work, and at all relevant times was doing

and transacting business within the State of New York.

15.    Defendant SONY MUSIC PUBLISHING (“SONY/PUB”), is a Delaware company

with a principal place of business at 25 Madison Avenue New York, NY 10010.
   Case 1:25-cv-00181        Document 1        Filed 01/08/25      Page 5 of 17




SONY/PUB is the company publishing and broadcasting the Infringing Work, and at all

relevant times was doing and transacting business within the State of New York.

16.    Defendant AUDEMARS PIGUET (“AP”), is a foreign corporation with

authorization to do business in New York with a principal place of business at 135 East

57th Street, 29th Floor New York, NY 10022. AP is the company distributing and

broadcasting the Infringing Work, and at all relevant times was doing and transacting

business within the State of New York.

17.    Defendant Solana Rowe p/k/a SZA (“SZA”), is an individual, performing artist and

a songwriter who, upon information and belief, is a citizen of the United States and a

resident of the State of California. SZA is one of the songwriters who was listed as a co-

writer of the Infringing Work, and at all relevant times was doing and transacting business

within the State of New York.

18.    Defendant Navadius Wilburn p/k/a Future (“Future”), is an individual, performing

artist and a songwriter who, upon information and belief, is a citizen of the United States

and a resident of the State of Georgia. Future is one of the songwriters who was listed as a

co-writer of the Infringing Work, and at all relevant times was doing and transacting

business within the State of New York.

19.    Defendant Jahmal Gwin (“Gwin”), is an individual, performing artist and a

songwriter who, upon information and belief, is a citizen of the United States and a resident

of the State of Illinois. Gwin is one of the songwriters who was listed as a co-writer of the

Infringing Work, and at all relevant times was doing and transacting business within the

State of New York.
   Case 1:25-cv-00181        Document 1        Filed 01/08/25      Page 6 of 17




20.    Defendant Jahaan Sweet (“Sweet”), is an individual, performing artist and a

songwriter who, upon information and belief, is a citizen of the United States and a resident

of the State of Florida. Sweet is one of the songwriters who was listed as a co-writer of the

Infringing Work, and at all relevant times was doing and transacting business within the

State of New York.

21.    Defendant Nima Jahanbin (“Jahanbin”), is an individual, performing artist and a

songwriter who, upon information and belief, is a citizen of the United States and a resident

of the State of California. Jahanbin is one of the songwriters who was listed as a co-writer

of the Infringing Work, and at all relevant times was doing and transacting business within

the State of New York.

22.    Defendant Edgar Panford (“Panford”), is an individual, performing artist and a

songwriter who, upon information and belief, is a citizen of the United States and a resident

of the State of California. Panford is one of the songwriters who was listed as a co-writer

of the Infringing Work, and at all relevant times was doing and transacting business within

the State of New York.

23.    Defendants “John Doe Entities” 1 - 10 are corporations, partnerships and/or limited

liability companies whose identities are currently unknown, but have infringed Plaintiffs’

copyright in the Original Work in direct violation and contravention of 17 U.S.C. §§ 101

et seq. and 106 et seq. The identity of these entities will become known with discovery.

24.    Defendants “John Does” 1 - 10 are individuals whose identities are currently

unknown, but who have infringed Plaintiffs’ copyright in the Original Work in direct

violation and contravention of 17 U.S.C. §§ 101 et seq. and 106 et seq. The identity of

these individuals will become known with discovery.
              Case 1:25-cv-00181            Document 1          Filed 01/08/25       Page 7 of 17




                                             FACTUAL BACKGROUND



           25.      In November of 2019, Plaintiff wrote the lyrics, then completed and published a

           demo entitled “Like the Way it Sounds” (“Original Work”). In November of 2019, Plaintiff

           shared the Original Work with Kanye West.

           26.      In November of 2019, after Plaintiff created the Original Work, Plaintiff recorded

           the Original Work in a voice note and shared the Original Work with Kanye West.

           27.      Upon information and belief, Kanye West planned to release a song entitled,

           “Future Bounce,” then renamed “Future Sounds,” and then finally renamed “Ultrasounds.”

           All versions of these renamed songs were based on and copied the Plaintiff’s Original

           Work.

           28.      In 2021, Kanye West released his album, “Donda,” but did not release “Future

           Bounce,” “Future Sounds” or “Ultrasounds.”

           29.      The Original Work is copyrighted and registered with the Library of Congress

           under registration number SR 986-420.1

           30.      Plaintiff is the lawful proprietor of all rights, title and interest in and to the

           copyrighted Original Work.

           31.      The substantial, salient and original aspects of the Original Work, copyrightable

           under the Act and the laws of the United States, are as follows:

                 a. The words, “I can see the future is looking like we level through the sky, I can’t

                    wait to live in glory of eternal paradise, won’t you wash my sins and write my name

                    inside the book of life- might as well turn up now, He gone pop up unannounced,



1
    Attached here as Exhibit A, printout from the Copyright Public Records System.
   Case 1:25-cv-00181            Document 1     Filed 01/08/25      Page 8 of 17




         hear the trumpets, do you like the way it sounds?” sang in a specific melody created

         by Plaintiff.

      b. The words, “down payment all in my account, uh, gonna wear the crown, holy ghost

         falling on the crowds, we gone see him coming in the clouds, do you like the way

         it sounds, choir singing so loud, caping Jesus I’m sold out, miracles wash away the

         doubts, drum line drops, do you like the way it sounds?” sang in a specific melody

         created by Plaintiff.

      c. The substantial, salient and original aspects of the Original Work referenced in

         Paragraph 28 a-d, shall herein be referenced as Plaintiff’s Lyrics.

32.      Upon information and belief, Kanye West played the Original Work for Scott.

33.      Plaintiff then left the Original Work in a studio in Wyoming.

34.      Upon information and belief, Scott gained access to the studio Plaintiff left the

Original Work in and began creating the Infringing Work off of the Original Work.

35.      Upon information and belief, in May of 2023 Scott shared the Original Work with

Sza and Future and requested that they collaborate in creating the Infringing Work.

36.      Upon information and belief, in May of 2023, Scott, Sza and Future agreed to create

the Infringing Work by copying Plaintiff’s Original Work.

37.      Upon information and belief, Scott, Sza and Future intentionally and willfully

copied Plaintiff’s Original Work, specifically Plaintiff’s Lyrics and Melody, when they

created the Infringing Work in May of 2023.

38.      On July 28, 2023 the Defendants commercially released the Infringing Work,

entitled “Telekenesis,”
   Case 1:25-cv-00181         Document 1       Filed 01/08/25       Page 9 of 17




39.     Upon information and belief, in 2023 Scott, Sza, Future and all Defendants

intentionally and willfully copied Plaintiffs’ Original Work, specifically Plaintiff’s Lyrics,

when they commercially released the Infringing Work.

40.     On July 28, 2023, when the Defendants commercially released the Infringing Work,

the Defendants credited Plaintiff as a co-writer in the meta-data provided to digital

streaming platforms.

41.     Unaware that her Original Work was copied and commercially released by

Defendants, Plaintiff planned to finish working on her Original Work and commercially

release it through her recording agreement with RocNation.

42.     In November 2023, AP, aware that the Infringing Work was a copy of the Original

Work, contacted Plaintiff to obtain her permission to commercially exploit the Infringing

Work. However, with no communication from any of the other Defendants on an

agreement and with no permission to use Plaintiff’s Original Work, Plaintiff declined to

give permission to AP to use the Infringing Work.

43.     On December 1, 2023, Plaintiff’s publishing administrator, Kobalt Publishing,

under the direction of the Plaintiff, declined to give AP permission because the Defendants

were never granted permission to use the Original Work in creating or exploiting the

Infringing Work.

44.     On December 1, 2023, Plaintiff’s representative gave all Defendants notice that

Plaintiff objected to the planned broadcast of the Infringing Work.

45.     On December 4, 2023, the Defendants and AP partnered to publish and

commercially release an advertising campaign broadcasting the Infringing Work over the

Plaintiff’s objection.
  Case 1:25-cv-00181          Document 1       Filed 01/08/25      Page 10 of 17




46.      The Infringing Work copies varies elements of the Original Work, including but

not limited to the lyrics. Thus, Plaintiff brings this action for copyright infringement under

17 U.S.C. §101, 501 et seq., arising from the Defendants’ unauthorized reproduction,

distribution and/or public performance of the Infringing Composition.

47.      As a result, every copy of each of the various versions of the Infringing Work

infringe the Original Work, as do any downloads, streams or music videos of “Telekinesis.”

48.      Likewise, every time Scott, Sza or Future performed or performs “Telekenesis” in

concert, Defendants have infringed the copyright of Plaintiff’s Original Work. Upon

information and belief, including www.setlist.fm, Scott has performed “Telekinesis” at

least 45 times since July 27, 2023 and at least 15 times since December 12, 2023.

49.      Though still early in its release, the Infringing Work has been certified Platinum in

several territories throughout the world and continues to exist as a successful single on

music streaming, download and sales platforms.

50.      The Infringing Work copies the Original Work, as the lyrics to the Infringing Work

are as follows:

      a. The words, “I can see the future is looking like we level through the sky, I can’t

         wait to live in glory in eternal lasting life, won’t you take the wheel and I recline

         and I sit still- might as well turn up now, He gone pop up unannounced, hear the

         trumpets, do you like the way it sounds?”

51.      The substantial, salient and original aspects of the Infringing Work referenced in

Paragraph 51 a-d are repeated in the Infringing Work and are the predominant, prominent

and the only recognizable characteristic of the Infringing Work.
  Case 1:25-cv-00181         Document 1         Filed 01/08/25       Page 11 of 17




52.    The lyrics referenced in Paragraph 51 a-d are lyrics from the Infringing Work that

are directly copied from the Plaintiffs’ Lyrics in the Original Work and comprise the chorus

or “hook” of the Infringing Work.

53.    The substantial, salient and original aspects of the Original Work, copyrightable

under the Act and the laws of the United States that are copied by the Infringing Work are

not in dispute, as Defendants have recently attempted to credit Plaintiff as an 8% writing

contributor to the Infringing Work.

54.    Upon information and belief, the Defendants were notified of the infringement at

least prior to July 27, 2023. Upon information and belief, despite receiving notice, the

Defendants decided to exploit Plaintiffs’ Original Work without permission in

commercially releasing and broadcasting the Infringing Work, which constitutes copyright

infringement.

55.    To date, each of the Defendants reproduced, distributed, publicly performed, and/or

authorized the reproduction, distribution and public performance of the infringing

composition and sound recording “Telekinesis” and each of the Defendants continues to

infringe Plaintiff’s Original Work.

                        AS FOR A FIRST CAUSE OF ACTION

       (Actual Damages for Copyright Infringement Against All Defendants)

56.    Plaintiff repeats and realleges each and every allegation contained in this Complaint

  with the same force and effect as if fully set forth herein.

57.    Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

copyrighted Original Work.
  Case 1:25-cv-00181         Document 1         Filed 01/08/25       Page 12 of 17




58.    Defendants had access to the Original Work by virtue of the Original Work being

published and available via drafts provided by Kanye West.

59.    Defendant AP published and broadcasted the Infringing Work on December 4,

2023, after the Infringing Work had been published by all other Defendants.

60.    Defendants, without Plaintiff’s authorization, knowledge or consent, willfully

infringed on Plaintiff’s Original Work by causing to be written, produced, and broadcasted

a derivative work entitled “Telekinesis”-the Infringing Work--which is substantially

similar to Plaintiff’s Original Work.

61.    Defendant AP published and broadcasted the Infringing Work after seeking consent

from the Plaintiff and being noticed that Plaintiff would not grant permission.

62.    Accordingly, Defendants have infringed Plaintiffs’ copyright in the Original Work

in direct violation and contravention of 17 U.S.C. §§ 101 et seq. and 106 et seq.

63.    By reason of the foregoing, Plaintiffs are entitled to actual damages and profits

pursuant to 17 U.S.C. § 504(b) in an amount to be determined at trial.

                      AS FOR A SECOND CAUSE OF ACTION

                   (Statutory Damages for Copyright Infringement)

64.    Plaintiff repeats and realleges each and every allegation contained in this Complaint

  with the same force and effect as if fully set forth herein.

65.    Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

copyrighted Original Work.

66.    Defendants had access to the Original Work by virtue of the Original Work being

published and critically acclaimed.
  Case 1:25-cv-00181         Document 1        Filed 01/08/25    Page 13 of 17




67.    Defendants also had access to the Original Work by virtue of the Original Work

being shared and copied by Kanye West.

68.    Defendants also had access to the Original Work by virtue of Defendant Scott

sharing the Original Work.

69.    Defendants, without Plaintiff’s authorization, knowledge or consent, willfully

infringed on Plaintiff’s Original Work by causing to be written, produced, and broadcasted

a derivative work entitled “Telekinesis”-the Infringing Work--which is substantially

similar to Plaintiff’s Original Work.

70.    Accordingly, Defendants have infringed Plaintiff’s copyright in the Original Work

in direct violation and contravention of 17 U.S.C. §§ 101 et seq. and 106 et seq.

71.    Plaintiff’s Original Work was registered on December 12, 2023. Defendants first

commercially released, published and broadcast the Infringing Work on December 4, 2023.

72.    By reason of the foregoing, Plaintiff is entitled to statutory damages pursuant to 17

U.S.C. § 504(c)(1), in an amount not less than $750 or more than $30,000 per broadcast of

the Infringing work as statutory damages pursuant to 17 U.S.C. §504(c)(1), and the sum of

$150,000 per broadcast of the Infringing Work as additional statutory damages pursuant to

17 U.S.C. §504(c)(2).



                        AS FOR A THIRD CAUSE OF ACTION


                                        (Accounting)

73.    Plaintiff repeats and realleges each and every allegation contained in this Complaint

with the same force and effect as if fully set forth herein.
  Case 1:25-cv-00181          Document 1        Filed 01/08/25      Page 14 of 17




74.     Pursuant to 17 U.S.C. § 504, Plaintiff is entitled to recover all of Defendants’ profits

attributable to their acts of infringement.

75.     Pursuant to 17 U.S.C. § 504, Plaintiff is entitled to recover actual damages sustained

by virtue of Defendants’ acts of infringement.

76.     The amount of money due from Defendants is presently unknown to Plaintiff and

cannot be ascertained without a detailed accounting by Defendants of all profits obtained

from their marketing, distribution, and national television broadcasting of the Infringing

Work.

                       AS FOR A FOURTH CAUSE OF ACTION


                                    (Constructive Trust )

77.     Plaintiff repeats and realleges each and every allegation contained in this Complaint

with the same force and effect as if fully set forth herein.

78.     By virtue of their wrongful conduct, Defendants have illegally received money and

profits that rightfully belong to Plaintiff.

79.     Defendants hold the illegally received money and profits in the form of bank

accounts, real property or personal property that can be located and traced.

80.     Defendants hold the money and profits that they have illegally received as

constructive trustees for the benefit of Plaintiff.



                         AS FOR A FIFTH CAUSE OF ACTION

                                (Attorney’s Fees and Costs)

81.     Plaintiff repeats and realleges each and every allegation contained in this Complaint

   with the same force and effect as if fully set forth herein.
  Case 1:25-cv-00181         Document 1         Filed 01/08/25       Page 15 of 17




82.    Plaintiffs are the sole and lawful proprietor of all rights, title and interest in and to

the copyrighted Original Work.

83.    Defendants had access to the Original Work by virtue of the Original Work being

published, accessible and reviewed by Defendants.

84.    Defendants, without Plaintiffs’ authorization, knowledge or consent, willfully

infringed on Plaintiffs’ Original Work by causing to be written, produced, and broadcasted

a derivative work entitled “Telekinesis”-the Infringing Work--which is substantially

similar to Plaintiff’s Original Work.

85.    Accordingly, Defendants have infringed Plaintiff’s copyright in the Original Work

in direct violation and contravention of 17 U.S.C. §§ 101 et seq. and 106 et seq.

86.    By reason of the foregoing, Plaintiff respectfully requests the recovery of all costs

as well as attorneys’ fees in connection with the prosecution of this case pursuant to 17

U.S.C. § 505.

                        AS FOR A SIXTH CAUSE OF ACTION

                                 (Preliminary Injunction)

87.    Plaintiff restates and realleges each and every allegation contained in this

Complaint with the same force and effect as if fully set forth herein.

88.    Plaintiff is the sole and lawful proprietor of all rights, title and interest in and to the

copyrighted Original Work.

89.    Defendant Scott had access to the Original Work by virtue of the Original Work

being shared with Defendant Scott by Kanye West.

90.    Defendants, without Plaintiff’s authorization, knowledge or consent, willfully

infringed on Plaintiff’s Original Work by causing to be written, produced, and broadcasted
          Case 1:25-cv-00181          Document 1      Filed 01/08/25      Page 16 of 17




       “Telekinesis”-the Infringing Work--which is substantially similar to Plaintiff’s Original

       Work.

       91.      Accordingly, Defendants have infringed Plaintiff’s copyright in the Original Work

       in direct violation and contravention of 17 U.S.C. §§ 101 et seq. and 106 et seq.

       92.      Plaintiff will incur substantial and irreparable injury if Defendants’ are allowed to

       continue their infringement of the Original Work pending the resolution of this action.

       93.      By reason of the foregoing, Plaintiff is entitled to a preliminary and permanent

       injunction pursuant to 17 U.S.C. § 502 enjoining and restraining Defendants from further

       infringement or broadcast of Plaintiff’s copyrighted Original Work.

                WHEREFORE, the Plaintiff respectfully request this Court to enter a judgment

against the Defendants for their willful writing, producing, and broadcasting in theatres a

derivative work entitled “Telekinesis”- the Infringing Work-which is substantially similar to

Plaintiffs’ Original Work which resulted in, and continues to result in, injuries to Plaintiff.

Accordingly, Plaintiff respectfully requests that this Court:

             a. Issue a preliminary and permanent injunction against the Defendants, and all others

                in active concert or participation with Defendants, from further broadcast of the

                Infringing Work or other infringement of Plaintiff’s protected copyrighted Original

                Work;

             b. Order the Defendants to recall and destroy all copies of the Infringing Work or any

                other derivatives of Plaintiff’s Original Work, in whatever form they may exist;

             c. Order Defendants to pay Plaintiff an amount to be determined at trial in actual

                damages and profits, plus interest, pursuant to 17 U.S.C. §504(b), the exact amount

                to be determined at trial;
          Case 1:25-cv-00181          Document 1       Filed 01/08/25      Page 17 of 17




            d. Order Defendants to pay Plaintiff not less than $750 or more than $30,000 per

                broadcast of the Infringing work as damages pursuant to 17 U.S.C. §504(c)(1);

            e. Order Defendants to pay Plaintiff the sum of $150,000 per broadcast of the

                Infringing Work as additional statutory damages pursuant to 17 U.S.C. §504(c)(2);

            f. Order Defendants to pay Plaintiff both the costs of this action and the reasonable

                attorneys’ fees incurred by Plaintiff in prosecuting this action pursuant to 17 U.S.C.

                §505;

            g. Order the imposition of a constructive trust over Defendants’ profits which resulted

                from their infringement of Plaintiffs’ Original Work;

            h. Order that Defendants to provide Plaintiff a full and complete accounting of all

                profits obtained from their marketing, distribution, and national television

                broadcasting of the Infringing Work and any other amounts due and owing to

                Plaintiff as a result of Defendants’ infringement; and

            i. Grant Plaintiff such other and additional relief as the Court deems just and proper.

                                           JURY DEMAND

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully demands

that this proceeding be tried to a jury.

Dated: January 7, 2025

        Brooklyn, NY

                                               By:     _____/ss/_____

                                                       Attorneys for Plaintiffs
